                       Case 3:20-cr-00418-SI               Document 1      Filed 05/22/20         Page 1 of 4

AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                for the
                                                       District
                                                 __________     of Oregon
                                                            District of __________

                  United States of America                         )
                             v.                                    )
                                                                   )      Case No. 3:20-mj-00118
          COURTNEY WAYNE CANTERBURY                                )
                                                                   )
                                                                   )
                                                                   )
                          Defendant(s)
                            CRIMINAL COMPLAINT
              %<7(/(3+21(2527+(55(/,$%/((/(&7521,&0($16
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                   March 31, 2020               in the county of             Clackamas        in the
                       District of            Oregon           , the defendant(s) violated:

            Code Section                                                     Offense Description
18 U.S.C. § 751(a)                              Escape




         This criminal complaint is based on these facts:
See attached affidavit of Special Agent Aaron Pfenning, ATF




         ✔ Continued on the attached sheet.
         u

                                                                                                     (By phone)
                                                                                              Complainant’s signature

                                                                                 Aaron Pfenning, Deputy U.S. Marshal
                                                                                               Printed name and title

$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3E\
WHOHSKRQHDWBBBBBBBBDPSP
              3:28

Date:      May 22, 2020
                                                                                                 Judge’s signature

City and state:                         Portland, Oregon                     Hon. Stacie F. Beckerman, U.S. Magistrate Judge
                                                                                               Printed name and title
            Case 3:20-cr-00418-SI      Document 1       Filed 05/22/20     Page 2 of 4




       DISTRICT OF OREGON, ss.               AFFIDAVIT OF AARON PFENNING


                 Affidavit in Support of a Criminal Complaint and Arrest Warrant

       I, Aaron Pfenning, being first duly sworn, do hereby depose and say:

                             Introduction and Agent Background

       1.      I am a Deputy U.S. Marshal of the U.S. Marshals Service (USMS) and have been

so employed for approximately 12 years. I am assigned to the U.S. Marshals Service Warrant

Section which assists with the investigation and apprehension of fugitives.

       2.      This affidavit is made in support of a criminal complaint charging Courtney

Wayne Canterbury with escaping from the custody of the Bureau of Prisons (BOP), in violation

of Title 18, United States Code, Section 751(a).

                                        Applicable Laws

       3.      Title 18, United States Code, Section 751(a) provides:

       (a) Whoever escapes or attempts to escape from the custody of the Attorney
       General or his authorized representative, or from any institution or facility in
       which he is confined by direction of the Attorney General, or from any custody
       under or by virtue of any process issued under the laws of the United States by
       any court, judge, or magistrate judge, or from the custody of an officer or
       employee of the United States pursuant to lawful arrest, shall, if the custody or
       confinement is by virtue of an arrest on a charge of felony, or conviction of any
       offense, be fined under this title or imprisoned not more than five years, or both;
       or if the custody or confinement is for extradition, or for exclusion or expulsion
       proceedings under the immigration laws, or by virtue of an arrest or charge of or
       for a misdemeanor, and prior to conviction, be fined under this title or imprisoned
       not more than one year, or both.

                                 Statement of Probable Cause

       4.      The following information, facts, and occurrences are the result of my knowledge,

conversations with other law enforcement officers, and from my review of reports related to this

investigation. This affidavit is intended to show there is probable cause for the requested


Page 1 – Affidavit of Aaron Pfenning                            USAO Version Rev. April. 2017
            Case 3:20-cr-00418-SI       Document 1       Filed 05/22/20     Page 3 of 4




criminal complaint and arrest warrant, and does not purport to set forth all of my knowledge of,

or investigation into this matter. I have personally reviewed documents in our office provided by

the Bureau of Prisons concerning Courtney Wayne Canterbury together with documents issued

by the Circuit Court for the District of Oregon, germane to this matter.

       5.      On June 15, 2016, Courtney Wayne Canterbury, Federal Register Number 78701-

065, was sentenced by the Honorable Judge Marco Hernandez, District of Oregon, to a prison

term of 63 months in the custody of the Bureau of Prisons in case number 15-CR-00447-HZ for

Felon in Possession of a Firearm, in violation of 18 United States Code, Section 922(g)(1).

       6.      On June 5, 2019, the Bureau of Prisons, released Canterbury from Lompoc, a

federal prison facility, to the Northwest Regional Reentry Center (NWRRC), in Portland,

Oregon, to begin the pre-release component of his sentence. The NWRRC authorized home

detention, subject to GPS based location monitoring using an ankle bracelet on March 17, 2020,

to a specific address in Oregon.

       7.      As part of the release from Lompoc on June 5, 2019, Canterbury signed a notice

entitled “Community Based Program Agreement” that stated: “In the event that I am approved

for Home Detention, I agree to abide by the following conditions related to my legal

participation in Home Detention.” The notice included the following admonition: “I am aware

that I will legally remain the custody of the Bureau of Prisons and/or the U.S. Attorney General

and that the failure to remain at the required locations may result in disciplinary action and/or

prosecution for escape.”

       8.      On March 31, 2020 at approximately 19:45 hours, while on home detention and in

the custody of the Bureau of Prisons and the U.S. Attorney General, Courtney Wayne

Canterbury removed his ankle GPS monitor and absconded/escaped from the residence where he


Page 2 – Affidavit of Aaron Pfenning                             USAO Version Rev. April. 2017
                Case 3:20-cr-00418-SI      Document 1       Filed 05/22/20     Page 4 of 4




   was required to stay on home detention. The NWRRC staff received a Master Tamper Alarm

   from Canterbury removing his ankle GPS and proceeded to call Canterbury, leaving voicemails

   with no success.

          9.       The NWRRC staff then notified Bureau of Prisons at 20:30 hours and the U.S.

   Marshals Service at 21:00 hours. NWRRC Case Manager Supervisor Michael GARCIA

   provided documents to support the escape, to include a photograph of Canterbury and the Escape

   and Abscond agreement Canterbury signed when he arrived at the NWRRC understanding he

   could be charged with escape if he absconded from home detention.

                                                   Conclusion

          10.      Based on the foregoing, I have probable cause to believe and do believe that

   Courtney Wayne Canterbury has committed the offense of Escape, in violation of Title 18,

   United States Code, Sections 751 and 4082.

          11.      Prior to being submitted to the Court, this affidavit and accompanying criminal

   complaint and arrest warrant were all reviewed by Assistant United States Attorney (AUSA)

   Greg Nyhus. AUSA Nyhus advised me that in his opinion, the affidavit and criminal complaint

   are legally and factually sufficient to establish probable cause to support the issuance of the

   requested criminal complaint and arrest warrant.
                                                              (By phone)
                                                         ________________________________
                                                         Aaron Pfenning
                                                         Deputy United States Marshal

          Sworn in accordance with the requirements of Fed. R. Crim. P. 4.1 by telephone at

3:28_____a.m.
     p.m.     on May _____,
                      22 2020.


                                                         ____________________________________
                                                         HONORABLE STACIE F. BECKERMAN
                                                         UNITED STATES MAGISTRATE JUDGE
   Page 3 – Affidavit of Aaron Pfenning                              USAO Version Rev. April. 2017
